Case 2:20-cv-07561-MWF-AGR Document 58 Filed 12/07/20 Page 1 of 5 Page ID #:578


                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                             CIVIL MINUTES—GENERAL

  Case No. CV 20-7561-MWF (AGRx)                      Date: December 7, 2020
  Title:   Evergreen Capital Management LLC v. The Bank of New York Mellon
           Trust Company, N.A. et al.
  Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

            Deputy Clerk:                           Court Reporter:
            Rita Sanchez                            Not Reported

            Attorneys Present for Plaintiff:        Attorneys Present for Defendant:
            None Present                            None Present

  Proceedings (In Chambers): ORDER DENYING DEFENDANT PACIFIC COAST
                             ENERGY COMPANY LP’S MOTION TO REOPEN
                             CASE AND STAY REMAND ORDER PENDING
                             APPEAL ORDER ON MOTION TO DISMISS CASE
                             [49]

        Before the Court is Defendant Pacific Coast Energy Company LP’s (“PCEC”)
  Motion to Reopen Case and Stay Remand Order Pending Appeal Order on Motion to
  Dismiss Case (the “Motion”), filed on November 2, 2020. (Docket No. 49). Plaintiff
  Evergreen Capital Management LLC filed an opposition on November 16, 2020.
  (Docket No. 53). Defendant PCEC filed a reply on November 23, 2020. (Docket No.
  54).

        The Motion was noticed to be heard on December 7, 2020. The Court read and
  considered the papers filed in connection with the Motion and deemed the matter
  appropriate for decision without oral argument. See Fed. R. Civ. P. 78(b); Local Rule
  7-15. Vacating the hearing is also consistent with General Order 20-09 arising from
  the COVID-19 pandemic.

        For the reasons discussed below, the Motion is DENIED.

       On July 8, 2020, Plaintiff commenced this putative class action against
  Defendants in Los Angeles County Superior Court. (Notice of Removal (“NoR”), Ex.
  A (“Complaint”) (Docket No. 1)). On August 20, 2020, PCEC removed the action,

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                           CIVIL MINUTES—GENERAL                              1
Case 2:20-cv-07561-MWF-AGR Document 58 Filed 12/07/20 Page 2 of 5 Page ID #:579


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                              CIVIL MINUTES—GENERAL

  Case No. CV 20-7561-MWF (AGRx)                      Date: December 7, 2020
  Title:   Evergreen Capital Management LLC v. The Bank of New York Mellon
           Trust Company, N.A. et al.
  invoking federal jurisdiction pursuant to the Class Action Fairness Act of 2005
  (“CAFA”), 28 U.S.C. § 1453(c). (NoR ¶ 1). On October 20, 2020, the Court granted
  Plaintiff’s motion to remand the action to Los Angeles Superior Court, holding that the
  Court lacked jurisdiction over the action under CAFA (the “Remand Order”). (Docket
  No. 44). Also on October 20, 2020, the Court closed and remanded the action, and
  transmitted a certified copy of the Remand Order and a copy of the docket sheet to Los
  Angeles Superior Court. (Docket No. 45).

        On November 2, 2020, PCEC petitioned the Ninth Circuit for permission to
  appeal the Court’s Remand Order. (See Motion at 1).

          PCEC now requests that the Court reopen the case and stay the Remand Order
  pending resolution of its petition to the Ninth Circuit and any resulting appeal. (Id.).
  PCEC argues that a stay is warranted because PCEC is likely to succeed on the merits
  of its appeal, the balance of hardships tilts in PCEC’s favor, and a stay is in the
  public’s interest due to preservation of judicial resources and CAFA’s objectives in
  giving defendants like PCEC access to federal forum. (Id.).

         Plaintiff responds that the Court lacks subject matter jurisdiction to reopen and
  stay the case because the action has already been remanded to Los Angeles Superior
  Court. (Opposition at 3-5). The Court agrees.

         Section 1447 provides that an order remanding a case to state court is generally
  not reviewable on appeal. 28 U.S.C. § 1447(d). As a result, when a remand order is
  issued by a district court, the district court is ordinarily divested of jurisdiction,
  allowing the state court to proceed with the case. 28 U.S.C. § 1447(c); see also
  Seedman v. U.S. Dist. Court for Cent. Dist. of California, 837 F.2d 413, 414 (9th Cir.
  1988) (“Once a district court certifies a remand order to state court it is divested of
  jurisdiction and can take no further action on the case.”).

        PCEC contends that § 1447(d) is inapplicable here because of a statute granting
  limited appellate jurisdiction over class actions. See CAFA, 28 U.S.C. § 1453(c).
  Section 1447(d) generally applies to CAFA class actions “except that notwithstanding
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                           CIVIL MINUTES—GENERAL                              2
Case 2:20-cv-07561-MWF-AGR Document 58 Filed 12/07/20 Page 3 of 5 Page ID #:580


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

  Case No. CV 20-7561-MWF (AGRx)                      Date: December 7, 2020
  Title:   Evergreen Capital Management LLC v. The Bank of New York Mellon
           Trust Company, N.A. et al.
  section 1447(d), a court of appeals may accept an appeal from an order of a district
  court granting or denying a motion to remand a class action to the State court from
  which it was removed” if timely application is made. 28 U.S.C. § 1453(c)(1)
  (emphasis added).

         As an initial matter, this Court previously determined that this action is not a
  class action subject to CAFA. (See generally Remand Order). Additionally, while the
  Ninth Circuit has not decided the issue, the Court agrees with persuasive authority
  holding that “CAFA’s limited grant of discretionary appellate court jurisdiction does
  not affect a district court’s jurisdiction after remand pursuant to section 1447(c).” In re
  Oxycontin Antitrust Litig., No. 08 CIV. 3380 SHS, 2011 WL 4801360, at *1 (S.D.N.Y.
  Oct. 6, 2011) (dismissing defendants’ motion to stay remand order pending CAFA
  appeal for lack of jurisdiction). Further, since the action has already been remanded to
  Los Angeles Superior Court, ruling on PCEC’s motion would require the Court to
  vacate its Remand Order, “which the Court is not willing to do.” Avner Greenwald v.
  Ripple Labs, Inc., No. 4:18-CV-4790-PJH, (N.D. Cal Oct. 17, 2020) (Docket No. 27 at
  1) (denying defendants’ motion to stay pending CAFA appeal of remand order).

         Even if the Court were to agree with PCEC that it retains jurisdiction over the
  action, the Court would deny the Motion on the merits.

          When considering a motion to stay an order pending appeal, the Court must
  assess four factors: “(1) whether the stay applicant has made a strong showing that he
  is likely to succeed on the merits; (2) whether the applicant will be irreparably injured
  absent a stay; (3) whether issuance of the stay will substantially injure the other parties
  interested in the proceeding; and (4) where the public interest lies.” Nken v. Holder,
  556 U.S. 418, 434 (2009) (quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).
  “The first two factors of the traditional standard are the most critical.” Id. A court
  need not consider the third and fourth factors unless it concludes that the moving party
  has made an adequate showing on the first two. See id. at 435 (“Once an applicant
  satisfies the first two factors, the traditional stay inquiry calls for assessing the harm to
  the opposing party and weighing the public interest.”).

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                           CIVIL MINUTES—GENERAL                              3
Case 2:20-cv-07561-MWF-AGR Document 58 Filed 12/07/20 Page 4 of 5 Page ID #:581


                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                              CIVIL MINUTES—GENERAL

  Case No. CV 20-7561-MWF (AGRx)                      Date: December 7, 2020
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           Trust Company, N.A. et al.
         The Court notes that PCEC misstates the applicable test. PCEC argues that it is
  required only to show either “a probability of success on the merits and the possibility
  of irreparable injury” or “that serious legal questions are raised and that the balance of
  hardships tips sharply in its favor.” (Motion at 3) (quoting Golden Gate Rest. Ass’n v.
  City & Cty. of San Francisco, 512 F.3d 1112, 1115-16 (9th Cir. 2008)). The Golden
  Gate test upon which PCEC relies is no longer good law. As the Ninth Circuit has
  since explained, the Supreme Court’s decision in Nken overruled prior Ninth Circuit
  law “that permitted a stay to issue upon the petitioner ‘simply showing some possibility
  of irreparable injury.’” Leiva-Perez v. Holder, 640 F.3d 962, 968 (9th Cir. 2011)
  (quoting Nken, 556 U.S. at 434) (emphasis added in Leiva-Perez). Therefore, while
  the Ninth Circuit’s “sliding scale” approach remains applicable (such that the
  robustness of the showing on the merits varies with how sharply the balance of
  hardship tips), “to obtain a stay . . . , [a movant] must demonstrate that irreparable
  harm is probable if the stay is not granted.” Id.

        For the reasons stated by the Court in the Remand Order, the Court disagrees
  that PCEC has demonstrated a likelihood of success on the merits. (See generally
  Remand Order). Additionally, PCEC has failed to demonstrate that irreparable harm is
  probable absent a stay.

         PCEC claims that, absent a stay, it will suffer irreparable harm because it will be
  forced to defend the state court class action while at the same time attempting to appeal
  the remand and will be deprived of the benefit of the neutral federal forum. (Motion at
  14). These are the sort of “[m]ere injuries” “in terms of money, time and energy
  necessarily expended in the absence of a stay” that the Supreme Court has found
  insufficient to constitute an irreparable harm. See Sampson v. Murray, 415 U.S. 61, 90
  (1974); see also Dunson v. Cordis Corp., No. 16-CV-03076-EMC, 2016 WL
  10679457, at *3 (N.D. Cal. Nov. 8, 2016) (denying motion to stay case pending CAFA
  appeal of remand order where defendant argued it faced irreparable harm absent a stay
  because it would have to spend time litigating concurrently in state and federal court).



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                           CIVIL MINUTES—GENERAL                              4
Case 2:20-cv-07561-MWF-AGR Document 58 Filed 12/07/20 Page 5 of 5 Page ID #:582


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                              CIVIL MINUTES—GENERAL

  Case No. CV 20-7561-MWF (AGRx)                      Date: December 7, 2020
  Title:   Evergreen Capital Management LLC v. The Bank of New York Mellon
           Trust Company, N.A. et al.
         Because PCEC failed carry its burden with respect to either of the first two
  prongs, it is unnecessary for the Court to reach the latter two prongs. See Nken, at 435.
  But in any event, PCEC has failed to articulate any real injury to the public in failing to
  stay the matter. Moreover, “[t]he plaintiff[] in this case ha[s] already seen [its] efforts
  to seek redress for [its] injuries substantially delayed by [PCEC’s] removal. Adding
  further delay would only compound [its] injuries.” Dunson, 2016 WL 10679457, at
  *3.

        Accordingly, the Motion is DENIED.

        IT IS SO ORDERED.




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                           CIVIL MINUTES—GENERAL                              5
